                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 25-cr-376 (JFD)


UNITED STATES OF AMERICA,

                              Plaintiff,
              v.                                 ORDER TO UNSEAL

VANCE LUTHER BOELTER,

                              Defendant.

      This matter is before the Court on the Motion of the United States to Unseal

the Complaint in this case.

      NOW, THEREFORE, IT IS HEREBY ORDERED, upon good cause shown,

that the Motion is granted, and the Complaint is hereby unsealed.



Dated: June 16, 2025                       s/ John F. Docherty
                                           THE HONORABLE JOHN F. DOCHERTY
                                           UNITED STATES MAGISTRATE JUDGE
